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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FT. MYERS DIVISION

GREGORY GIBBS and TATONYA
HUGGINS on behalf of themselves and those
similarly situated,

      Plaintiffs,                                        CASE NO.: 2:18-CV-434-SPC-MRM
vs.

MLK EXPRESS SERVICES, LLC, a Florida
Limited Liability Company; AG PLUS
EXPRESS, LLC, a Florida Limited Liability
Company; AMAZON.COM, INC., a Foreign
for Profit Corporation; AMAZON LOGISTICS,
INC., a Foreign for Profit Corporation;
AMAZON.COM SERVICES, INC., a Foreign
for Profit Corporation; MANIHONG M.
PHANOUVONG, Individually, and LILA V.
PHANOUVONG, Individually,

      Defendants.
                                            /

                        NOTICE OF FILING CONSENT TO JOIN

       Plaintiffs, Gregory Gibbs and Tatonya Huggins, give notice of filing the attached Consent

to Join executed by Rickisha Anderson, who worked for JSTC, LLC in Jacksonville, Florida.

DATED: November 6, 2018                     Respectfully submitted,

                                            /s/ ANDREW R. FRISCH______
                                            Andrew R. Frisch
                                            Paul M. Botros
                                            MORGAN & MORGAN, P.A.
                                            600 N. Pine Island Road, Suite 400
                                            Plantation, FL 33324
                                            Tel: 954-WORKERS; Fax: 954-327-3013
                                            E-mail: afrisch@forthepeople.com
                                            E-mail: pbotros@forthepeople.com

                                           Trial Counsel for Plaintiff
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of November, 2018, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which I understand will send

a notice of electronic filing to all parties of record.


                                                          /s/ ANDREW R. FRISCH
                                                          Andrew R. Frisch




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